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                                                                    April 25, 2025
 VIA ECF
 The Honorable James R. Cho
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East, 1426 South
 Brooklyn, New York 11201

        Re:     SEC v. Adani, et al., 24-cv-08080-NGG (E.D.N.Y.)

 Dear Magistrate Judge Cho:

         Pursuant to the Court’s February 24, 2025 Status Report Order, plaintiff Securities and
 Exchange Commission (“SEC”) respectfully submits this status report concerning its efforts to
 serve the Summons and Complaint on Defendants Gautam Adani and Sagar Adani (collectively,
 “Defendants”). Defendants are located in India, and the SEC’s efforts to serve them are ongoing,
 including through a request for assistance to the Indian authorities to effect service under the
 Hague Service Convention for Service Abroad of Judicial and Extrajudicial Documents in Civil
 or Commercial Matters (“Hague Service Convention”).

         The SEC filed its Complaint on November 20, 2024, alleging that Defendants violated
 the antifraud provisions of the federal securities laws by knowingly or recklessly making false
 and misleading representations concerning Adani Green Energy Ltd. (“Adani Green”) in
 connection with a September 2021 debt offering by Adani Green. (ECF No. 1.) Because
 Defendants are located in India, service of the Summons and Complaint on them is governed by
 Rule 4(f) of the Federal Rules of Civil Procedure (“FRCP”). (See SEC Ltr. to Hon. N. Garaufis,
 dated February 18, 2025 (ECF No. 8 (“February Status Update”)).) FRCP 4(f) sets no time limit
 for service and permits the SEC to serve Defendants by any internationally agreed means of
 service reasonably calculated to give notice, such as the Hague Service Convention. (Id.)

         As described in the SEC’s February Status Update, the SEC previously issued a request
 to India’s Ministry of Law & Justice (“India MoLJ”) seeking assistance under Article 5(a) of the
 Hague Service Convention with serving of the Summons and Complaint on Defendants in India.
 (Id.) The SEC also previously sent Notices of Lawsuit and Requests for Waiver of Service of
 Summons, including copies of the Complaint, directly to defendant Gautam Adani and to
 counsel for defendant Sagar Adani. (Id.) Since the February Status Update, the India MoLJ has
 confirmed to the SEC that it received the SEC’s request for assistance under the Hague Service
 Convention and that it has, in turn, requested that the relevant judicial authorities within India
 attempt to serve the Summons and Complaint on Defendants. In advance of this status report,
 the SEC sought additional updates from the India MoLJ concerning service but has not received
 a response. Additionally, since the February Status Update, SEC counsel has learned the identity
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 of counsel representing defendant Gautum Adani in connection with the SEC’s allegations in this
 matter and it sent a Notice of Lawsuit and Request for Waiver of Service of Summons to that
 counsel. To date, neither Defendant has agreed to waive service of the Summons and Complaint.

         The SEC’s efforts to serve Defendants are ongoing and it will keep the Court apprised of
 its progress.

                                                     Respectfully submitted,
                                                     /s/ Christopher M. Colorado .
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